
717 S.E.2d 388 (2011)
STATE of North Carolina
v.
Michael Christopher THOMPSON.
No. 313P11.
Supreme Court of North Carolina.
August 25, 2011.
Melody Hairston, Associate Attorney General, for State of North Carolina.
*389 Michael Christopher Thompson, for Thompson, Michael Christopher.
Thomas J. Keith, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 25th of July 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
